        Case 1:22-cv-03822-VEC          Document 5       Filed 05/12/22     Page 1 of 23




                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK


   COMMODITY FUTURES TRADING
   COMMISSION,

                  Plaintiff,

   v.                                               Case No.:

   EDDY ALEXANDRE and
   EMINIFX, INC.

                  Defendants.


             COMPLAINT FOR INJUNCTIVE RELIEF, CIVIL MONETARY
                 PENALTIES AND OTHER EQUITABLE RELIEF

        The Commodity Futures Trading Commission (“CFTC” or “Commission”), an

independent federal agency, by and through its attorneys hereby alleges as follows:

                                I.     INTRODUCTION

        1.     From at least September 2021 through the present (“Relevant Period”), Defendant

Eddy Alexandre, individually and as principal and agent of EminiFX, Inc. (“EminiFX”), has

fraudulently solicited, accepted, and pooled at least $59 million from hundreds of members of

the general public (“participants”) to purportedly trade foreign currency exchange (“forex”) and

cryptocurrencies as well as futures and options in an investment club, when in fact the

Defendants misappropriated the vast majority of participant funds to pay participants in a Ponzi-

like scheme or for Alexandre’s personal expenses.

        2.     Defendants, by and through Alexandre and other promoters, have been making

misrepresentations of material fact when soliciting funds from existing and prospective

participants, such as promising that participants were guaranteed a return of at least 5% “every


                                                1
       Case 1:22-cv-03822-VEC            Document 5       Filed 05/12/22      Page 2 of 23




single week” from trading commodity interests. In addition, Defendants have omitted material

facts such as: (1) they traded only a portion of the participants’ funds; (2) Defendants suffered

large trading losses in the funds that were actually traded on behalf of participants;

(3) Defendants commingled and misappropriated participants’ funds; and (4) neither Defendant

was registered with the CFTC as required by federal law.

       3.      By engaging in this conduct and the conduct further described herein, Defendants

have engaged, are engaging, or are about to engage in violations of the Commodity Exchange

Act (“Act”), 7 U.S.C. §§ 1-26, and CFTC Regulations (“Regulation”), 17 C.F.R. pts. 1-190

(2021), including, but not limited to: solicitation fraud and fraud by misappropriation, in

violation of Sections 4b(a)(1)-(2) of the Act, 7 U.S.C. § 6b(a)(1)-(2), and Regulation 5.2(b),

17 C.F.R. § 5.2(b); fraud by a commodity pool operator (“CPO”), in violation of Section

4o(1)(A) and (B), 7 U.S.C. § 6o(1)(A), (B); the employment, or attempted employment, of

manipulative or deceptive devices and contrivances, in violation of Section 6(c)(1) of the Act,

7 U.S.C. § 9(1) and Regulation 180.1(a)(1)-(3), 17 C.F.R. § 180.1(a)(1)-(3) (2021).

       4.      Furthermore, by engaging in a business that is of the nature of a commodity pool

and soliciting and accepting funds for the purpose of trading in commodity interests, EminiFX

acted as a CPO without registering with the CFTC, thereby escaping regulatory scrutiny into its

activities and violating Sections 2(c)(2)(C)(iii)(I)(cc) and 4m(1) of the Act, 7 U.S.C.

§§ 2(c)(2)(C)(iii)(I)(cc), 6m(1), and Regulation 5.3(a)(2)(i), 17 C.F.R. § 5.3(a)(2)(i) (2021).

       5.      Similarly, Defendant Alexandre solicited funds for participation in a pooled

investment vehicle for the purpose of trading in commodity interests while associated with

Defendant EminiFX as an officer, employee, or agent, without being registered with the

Commission as an associated person (“AP”) of EminiFX, in violation of Sections



                                                  2
        Case 1:22-cv-03822-VEC           Document 5       Filed 05/12/22       Page 3 of 23




2(c)(2)(C)(iii)(I)(cc) and 4k(2) of the Act, 7 U.S.C. §§ 2(c)(2)(C)(iii)(I)(cc), 6k(2), and 17 C.F.R.

§ 5.3(a)(2)(ii) (2021).

       6.      Unless immediately restrained and enjoined by this Court, Defendants are likely

to continue engaging in the acts and practices alleged in this Complaint, and funds they

fraudulently obtained are likely to be misappropriated or otherwise dissipated. Accordingly, the

CFTC brings this action pursuant to Section 6c of the Act, 7 U.S.C. §13a-1, to enjoin

Defendants’ unlawful acts and practices and to compel their compliance with the Act. The

CFTC also seeks civil monetary penalties and remedial ancillary relief, including restitution to

defrauded participants, disgorgement, pre- and post-judgment interest, and such other equitable

relief as this Court may deem necessary.

                          II.    JURISDICTION AND VENUE

       7.      This Court has jurisdiction over this action under 28 U.S.C. § 1331 (codifying

federal question jurisdiction) and 28 U.S.C. § 1345 (providing that U.S. district courts have

original jurisdiction over civil actions commenced by the United States or by any agency

expressly authorized to sue by Act of Congress). In addition, Section 6c(a) of the Act, 7 U.S.C.

§ 13a-1(a), provides that U.S. district courts have jurisdiction to hear actions brought by the

Commission for injunctive and other relief or to enforce compliance with the Act whenever it

shall appear to the Commission that any person has engaged, is engaging, or is about to engage

in any act or practice constituting a violation of any provision of the Act or any rule, regulation,

or order thereunder.

       8.      Venue properly lies with this Court pursuant to Section 6c(e) of the Act, 7 U.S.C.

§ 13a-1(e), because Defendants transacted business in this District, EminiFX has a business




                                                  3
       Case 1:22-cv-03822-VEC               Document 5     Filed 05/12/22      Page 4 of 23




address in this district, and certain of the acts and practices in violation of the Act have occurred,

are occurring, or are about to occur within this District, among other places.

                                     III.     PARTIES

       9.      Plaintiff Commodity Futures Trading Commission is an independent federal

regulatory agency charged by Congress with administering and enforcing the Act and CFTC

Regulations.

       10.     Defendant Eddy Alexandre resides in Valley Stream, New York. Alexandre has

never been registered with the CFTC in any capacity. Alexandre has twice previously filed

voluntary Chapter 13 Bankruptcy actions in the U.S. Bankruptcy Court for the Eastern District of

New York under the name Eddy Alexandre. See In re Eddy Alexandre, Pet. No. 8-19-71208-reg

(Brktcy. E.D.N.Y.) (dismissed for other reason May 24, 2019), and In re Eddy Alexandre, Pet.

No. 8-17-72196-las (Brktcy. E.D.N.Y.) (dismissed for other reason May 30, 2017).

       11.     Defendant EminiFX, Inc. was incorporated in New York on September 20, 2021.

During the Relevant Period, EminiFX operated out of Alexandre’s residence in Valley Stream,

New York, and also out of an office in Manhattan, New York. EminiFX has never been

registered with the CFTC in any capacity.

                               IV.    FACTUAL ALLEGATIONS

       12.     On September 21, 2021, Alexandre opened a business bank account at Bank A in

the name of EminiFX. The account was opened identifying Alexandre as the main contact and

identified Alexandre’s home address as EminiFX’s address. Alexandre was the sole signatory on

the account.




                                                  4
       Case 1:22-cv-03822-VEC          Document 5       Filed 05/12/22     Page 5 of 23




       13.     Ultimately, EminiFX opened several bank accounts at Bank A (the “EminiFX

Accounts”). Alexandre was the sole signatory on all of the EminiFX accounts until February 25,

2022, when another individual was added as a signatory on some accounts.

       14.     Beginning in October 2021, Alexandre solicited participants to submit

contributions to himself and/or EminiFX for the purpose of trading commodity interests in a

purported investment club. On the EminiFX website, Defendants represented that funds would

be used to trade forex and cryptocurrencies. In other promotional materials, Defendants also

suggested that they would trade options and futures as well.

       15.     Thus far, Defendants have accepted at least $59 million into the EminiFX

Accounts from hundreds of participants. These contributions were made by participants

depositing cash to an EminiFX Account in at least 99 separate Bank A branches, by participants

writing checks to EminiFX, by wire transfer, by participants sending funds through Zelle to

Alexandre’s personal bank account, and by other means.

       16.     References for some of the participant deposits include “investment,” “business,”

“other club investment,” “business matters,” “open account,” “repay loan,” “funding account,”

“transfer for investment,” “capital investment,” “market investment,” “deposit into currency

trading account,” “payment,” “group investment,” “services for club investments,” “services,”

“Eminifx,” and “investment in cryptocurrencies,” and often included various participant user

IDs.

       17.     Despite Defendants’ representations that they would use participants’ funds to

trade forex and cryptocurrency, only about $9 million appears to have been sent to a futures

commission merchant (“FCM 1”) for trading purposes. The funds were deposited in an account

in Alexandre’s name at FCM 1 but were not actually used to trade forex or cryptocurrencies.



                                                5
       Case 1:22-cv-03822-VEC          Document 5        Filed 05/12/22     Page 6 of 23




Rather, they were used to trade stocks, broad-based index futures, including E-mini S&P 500

futures contracts, E-mini Nasdaq 100 futures contracts, E-mini Russell 2000 futures contracts,

and Dow Futures Mini contracts.

       18.     Much of the remaining funds were used to pay expenses, including Alexandre’s

personal expenses. At least $14,700,000 in participant funds was send to Alexandre’s personal

checking account, and other amounts appear to have been sent to Alexandre’s associates.

                      Misrepresentations, Omissions and False Statements

       19.     Throughout the Relevant Period, Defendants solicited prospective participants to

contribute to the “investment club” through the EminiFX website, weekly Zoom webinars, in-

person meetings and events, and through a network of promotors on YouTube and social media.

       20.     According to the EminiFX website, participants could build wealth “with

investments in the crypto and forex trading business by signing on with eminiFX.” The

EminiFX website also touted its “Robo-Advisor Assisted account” that allowed for “automated

trading.”

       21.     Defendants promised potential participants that they would receive guaranteed

returns of at least 5% “every single week,” on any amounts contributed to EminiFX. In fact,

after participants created and funded accounts with EminiFX, each Friday their online accounts

showed that the participants’ balances increased by between 5% and 9.99% over the prior week.

       22.     The participants’ increasing account balances gave the impression that EminiFX

was profitably trading the participants’ contributions. This was false. The vast majority of

participants’ contributions were not traded, but rather were kept in EminiFX accounts at Bank A,

spent by Alexandre, transferred to others, or transferred to accounts in the name of Alexandre.




                                                6
       Case 1:22-cv-03822-VEC            Document 5       Filed 05/12/22      Page 7 of 23




       23.      Only about $9 million in participant contributions were transferred to an account

in Alexandre’s name at FCM 1. Alexandre used these funds, transferred in December 2021 and

January 2022, to trade securities futures and options and stock index futures with disastrous

results. By April 27, 2022, Alexandre had lost nearly 70% of the amount he had transferred—

about $6.2 million—through unprofitable trading and fees. But Defendants did not inform

participants that a large portion of their funds had been lost in unprofitable trading. Rather,

Defendants continued to report to participants that their account balances were actually

increasing by 5% to 9.99% every week.

       24.      On at least one Zoom webinar on April 7, 2022, Alexandre encouraged potential

participants to make large contributions to EminiFX in order to quickly become millionaires due

to the weekly compounding interest. Alexandre reported, falsely, that 10 EminiFX participants

had become millionaires in the past week and that Alexandre had called each of those

participants personally to give them tips on how to live the “millionaire lifestyle.”

       25.      Prior to founding EminiFX and misappropriating participant funds, Alexandre

was not himself a millionaire. In fact, he had declared bankruptcy in 2019. According to

Alexandre’s bankruptcy filing, his net worth was negative $122,838.92, and his total financial

assets—including cash, checking accounts, accounts, and retirement accounts—amounted to

only $6,000.

       26.      In sum, Defendants made at least the following false statements to participants

and potential participants:

             a. Trading would be done through a “Robo-Advisor Assisted account” that allowed
                for automatic trading;

             b. Participants were guaranteed returns of 5% per week;

             c. Participants’ account balances were actually growing;


                                                  7
       Case 1:22-cv-03822-VEC            Document 5       Filed 05/12/22      Page 8 of 23




       27.      Defendants omitted the following information from participants and potential

participants:

             a. Most of the amounts contributed would actually not be used to trade, but rather
                would be used to pay Defendants’ expenses, misappropriated by Alexandre sent
                to Alexandre’s friends and associates, or simply held in checking or savings
                accounts at Bank A;

             b. Alexandre did not have a history of financial success, and had declared
                bankruptcy in 2019;

             c. Alexandre was not registered to trade participant funds;

             d. Alexandre incurred enormous losses in the participant funds that he actually did
                trade;

             e. Any returns obtained by EminiFX would come from contributions of other
                participants in the manner of a Ponzi scheme;

       28.      Defendants made these misrepresentations and omissions willfully or with

reckless disregard for their truth and by use of the mails or other means or instrumentalities of

interstate commerce.

       29.      Defendants made these misrepresentations and omissions in order to solicit

participants and potential participants to contribute funds to Alexandre and EminiFX.

       30.      Based on Defendants’ misrepresentations and omissions, hundreds of participants

contributed tens of millions of dollars to Alexandre and EminiFX.

                              Misappropriation of Participant Funds

       31.      During the Relevant Period, Alexandre misappropriated participant funds by use

of the mails or other means or instrumentalities of interstate commerce. Among the

unauthorized and improper uses of participant funds have been funds that he sent to his personal

bank accounts, used to pay personal expenses, sent to associates, donated to charities of his

choosing, and used to pay other participants in the manner of a Ponzi scheme.



                                                 8
        Case 1:22-cv-03822-VEC          Document 5        Filed 05/12/22      Page 9 of 23




       32.      At least $14,700,000 of participant funds deposited into and commingled in the

EminiFX Accounts has been transferred to Alexandre’s personal accounts at Bank A (the

“Personal Accounts”).

       33.      Additionally, the participant funds transferred to FCM 1 for trading purposes were

sent to an account in the name of Alexandre, not EminiFX or the names of any individual

participants.

       34.      Some participant funds were distributed to individuals, including at least

$200,000 to one individual. Additional participant funds were donated to charities selected by

Alexandre.

       35.      Alexandre also used participant funds to pay for business and personal expenses.

For example, Alexandre used participant funds to make payments to BMW, Mercedes Benz,

Saks Fifth Avenue, flights, luxury hotels and apparel, and occupational and physical therapy.

Alexandre also used substantial participant funds to rent and furnish office space for EminiFX

and to throw “galas” on behalf of EminiFX, which Defendants used to solicit additional

contributions from participants.

EminiFX Acted as an Unregistered CPO, and Alexandre Acted as an Unregistered AP of a CPO

       36.      During the Relevant Period, EminiFX, through Alexandre, acted as a CPO by

operating or soliciting funds for a pooled investment vehicle and that engages in retail forex

transactions without limiting participation to Eligible Contract Participants (“ECPs”). For an

individual to qualify as an ECP, he or she must have invested on a discretionary basis at least

$10 million, or at least $5 million if the investments are in order to hedge risk. Section

1a(18)(A)(xi) of the Act.

       37.      During the Relevant Period, Alexandre acted in a capacity requiring registration

as an AP of a CPO by soliciting customers and prospective customers for participation in a
                                                 9
       Case 1:22-cv-03822-VEC            Document 5       Filed 05/12/22      Page 10 of 23




pooled investment vehicle, while associated with EminiFX as a partner, officer, employee, or

similar agent.

       38.       During the Relevant Period, EminiFX was not registered with the Commission as

a CPO, and Alexandre was not registered with the Commission as an AP of a CPO as required

by the Act and Regulations.

             V.       VIOLATIONS OF THE COMMODITY EXCHANGE ACT

                     COUNT I – AGAINST ALEXANDRE AND EMINIFX

                         Violations of 7 U.S.C. § 6b(a)(1)(A), (C)
    Fraud by Misrepresentations, Material Omission and Misappropriation in connection
    with a commodity for future delivery on or subject to the rules of a designated contract
                                           market

       39.       The allegations set forth in the preceding paragraphs are re-alleged and

incorporated herein by reference.

       40.       Section 4b(a)(1)(A) and (C) of the Act, 7 U.S.C. § 6b(a)(1)(A) and (C), in

relevant part, makes it unlawful for any person, in or in connection with any order to make, or

the making of, any contract of sale of any commodity for future delivery that is made, or to be

made, on or subject to the rules of a designated contract market, for or on behalf of any other

person: (A) to cheat or defraud or attempt to cheat or defraud such other person or (C) willfully

to deceive or attempt to deceive such other person by any means whatsoever in regard to any

order or contract or the disposition or execution of any order or contract, or in regard to any act

of agency performed, with respect to any order or contract for such other person.

       41.       Defendants violated 7 U.S.C. § 6b(a)(1)(A) and (C) during the Relevant Period by

making misrepresentations and omissions of material fact to participants and prospective

participants, including, among other things, mispresenting the expected profits and risk of loss;

failing to disclose that Alexandre’s trading had resulted in large losses; and failing to disclose

                                                 10
       Case 1:22-cv-03822-VEC           Document 5       Filed 05/12/22      Page 11 of 23




that Alexandre was misappropriating participant funds for personal benefit and that he used

participant funds to pay other participants, in the manner of a Ponzi scheme; and failing to

disclose that EminiFX was not registered with the CFTC as a CPO and Alexandre was not

registered with the CFTC as an AP.

       42.      Defendants also violated 7 U.S.C. § 6b(a)(1)(A) and (C) during the Relevant

Period by misappropriating participant funds for personal benefit, including paying for luxury

vehicles and apparel and using participant funds to pay other participants, in the manner of a

Ponzi scheme.

       43.      Alexandre directly or indirectly controls EminiFX, and did not act in good faith or

knowingly induced, directly or indirectly, EminiFX’s violations alleged in this Count, and is thus

liable for EminiFX’s violations pursuant to Section 13(b) of the Act, 7 U.S.C. § 13c(b).

       44.      The foregoing acts, omissions and failures of Alexandre as alleged in this Count,

and of all other agents of EminiFX, occurred and are occurring within the scope of their

employment, office or agency with EminiFX; therefore, EminiFX is liable for these acts,

omissions and failures pursuant to Section 2(a)(1)(B) of the Act, 7 U.S.C. § 2(a)(1)(B), and

Regulation 1.2, 17 C.F.R. § 1.2 (2021).

       45.      Each act of misrepresenting and omitting material information, including, but not

limited to, those specifically alleged herein, and each act of misappropriation, constitutes a

separate and distinct violation of 7 U.S.C. § 6b(a)(1)(A) and (C).

                   COUNT II – AGAINST ALEXANDRE AND EMINIFX

           Violations of 7 U.S.C. § 6b(a)(2)(A), (C) and 17 C.F.R. § 5.2(b)(1), (3):
     Fraud by Misrepresentations, Material Omission and Misappropriation in connection
        with forex other than on or subject to the rules of a designated contract market

       46.      The allegations set forth in the preceding paragraphs are re-alleged and

incorporated herein by reference.
                                                 11
       Case 1:22-cv-03822-VEC           Document 5         Filed 05/12/22       Page 12 of 23




          47.   Section 4b(a)(2)(A) and (C) of the Act, 7 U.S.C. § 6b(a)(2)(A) and (C), in

relevant part, makes it unlawful for any person, in or in connection with any order to make, or

the making of, any contract of sale of any commodity for future delivery that is made, or to be

made, other than on or subject to the rules of a designated contract market, for or on behalf of

any other person: (A) to cheat or defraud or attempt to cheat or defraud such other person or

(C) willfully to deceive or attempt to deceive such other person by any means whatsoever in

regard to any order or contract or the disposition or execution of any order or contract, or in

regard to any act of agency performed, with respect to any order or contract for such other

person.

          48.   Section 2(c)(2)(C) of the Act, 7 U.S.C. § 2(c)(2)(C), among other things, contains

three grants which make clear that the CFTC has jurisdiction over, and that certain antifraud

provisions in the Act apply to, retail forex:

                a. Pursuant to 7 U.S.C. § 2(c)(2)(C)(ii)(I), forex agreements, contracts, or

                   transactions described in 7 U.S.C. § 2(c)(2)(C)(i) “shall be subject to” the

                   antifraud provisions of 7 U.S.C. §§ 6b and 6o, among other Sections of the

                   Act;

                b. Pursuant to 7 U.S.C. § 2(c)(2)(C)(iv), 7 U.S.C. § 6b “shall apply to” the forex

                   agreements, contracts, or transactions described in 7 U.S.C. § 2(c)(2)(C)(i) “as

                   if” they were a contract of sale of a commodity for future delivery; and

                c. Pursuant to 7 U.S.C. § 2(c)(2)(C)(vii), “[t]his Act applies to, and the

                   Commission shall have jurisdiction over an account or pooled investment

                   vehicle . . . that is offered for the purpose of trading, or that trades,” forex

                   agreements, contracts, or transactions described in 7 U.S.C. § 2(c)(2)(C)(i).



                                                  12
       Case 1:22-cv-03822-VEC           Document 5       Filed 05/12/22      Page 13 of 23




       49.     The foreign currency transactions offered by Defendants are retail forex

transactions pursuant to Regulation 5.1(m), 17 C.F.R. § 5.1(m) (2021). Regulation 5.2(b)(1) and

(3), 17 C.F.R. § 5.2(b)(1), (3) (2021), makes it unlawful “for any person, by use of the mails or

by any means or instrumentality of interstate commerce, directly or indirectly, in or in

connection with any retail forex transaction: (1) [t]o cheat or defraud or attempt to cheat or

defraud any person; or (3) [w]illfully to deceive or attempt to deceive any person by any means

whatsoever.”

       50.     Defendants violated 7 U.S.C. § 6b(a)(2)(A) and (C) and 17 C.F.R. § 5.2(b)(1) and

(3) during the Relevant Period by, among other things, making misrepresentations and omissions

of material fact to participants and prospective participants, including, among other things,

mispresenting the expected profits and risk of loss; failing to disclose that Alexandre’s trading

had resulted in large losses; and failing to disclose that Alexandre was misappropriating

participant funds for personal benefit and that he used participant funds to pay other participants,

in the manner of a Ponzi scheme; and failing to disclose that EminiFX was not registered with

the CFTC as a CPO and Alexandre was not registered with the CFTC as an AP.

       51.     Defendants also violated 7 U.S.C. § 6b(a)(2)(A) and (C) and 17 C.F.R.

§ 5.2(b)(1), (3) during the Relevant Period by misappropriating participant funds for personal

benefit, including paying for luxury vehicles and apparel and using participant funds to pay other

participants, in the manner of a Ponzi scheme.

       52.     Alexandre directly or indirectly controls EminiFX, and did not act in good faith or

knowingly induced, directly or indirectly, EminiFX’s violations alleged in this Count, and is thus

liable for EminiFX’s violations pursuant to 7 U.S.C. § 13c(b).




                                                 13
       Case 1:22-cv-03822-VEC           Document 5        Filed 05/12/22      Page 14 of 23




       53.     The foregoing acts, omissions and failures of Alexandre as alleged in this Count,

and of all other agents of EminiFX, occurred and are occurring within the scope of their

employment, office or agency with EminiFX; therefore, EminiFX is liable for these acts,

omissions and failures pursuant to 7 U.S.C. § 2(a)(1)(B) and 17 C.F.R. § 1.2.

       54.     Each act of misrepresenting and omitting material information, including, but not

limited to, those specifically alleged herein, and each act of misappropriation, constitutes a

separate and distinct violation of 7 U.S.C. § 6b(a)(2)(A) and (C).

                           COUNT III – AGAINST ALL DEFENDANTS

Violations of 7 U.S.C. § 6o(1)(A)-(B): Fraud by a CPO and an Associated Person of a CPO

       55.     The allegations set forth in the preceding paragraphs are re-alleged and

incorporated herein by reference.

       56.     Section 4o(1)(A)-(B) of the Act, 7 U.S.C. § 6o(1)(A)-(B), makes it unlawful for

any commodity pool operator or associated person of a commodity pool operator, “by use of the

mails or any means or instrumentality of interstate commerce, directly or indirectly” (A) “to

employ any device, scheme, or artifice to defraud any client or participant or prospective client

or participant” or (B) “to engage in any transaction, practice, or course of business which

operates as a fraud or deceit upon any client or participant or prospective client or participant.”

       57.     During the Relevant Period, EminiFX, through Alexandre, acted as a CPO by

being engaged in a business that is the nature of a commodity pool and in connection with

soliciting funds for the purpose of trading in futures, options, and forex, and actually trading

pooled funds in futures.

       58.     Alexandre acted as an AP of a CPO because he was associated with a CPO as a

partner, officer, employee, consultant, or agent in a capacity that involved the solicitation of

funds, securities, or property for participation in a pooled investment vehicle.
                                                 14
       Case 1:22-cv-03822-VEC           Document 5       Filed 05/12/22      Page 15 of 23




       59.     EminiFX, through Alexandre, and Alexandre in his individual capacity, violated

7 U.S.C. § 6o(1)(A)-(B) during the Relevant Period by making misrepresentations and omissions

of material fact to participants and prospective participants, including, among other things,

mispresenting the expected profits and risk of loss; failing to disclose that Alexandre’s trading

had resulted in large losses; and failing to disclose that Alexandre was misappropriating

participant funds for personal benefit and that he used participant funds to pay other participants,

in the manner of a Ponzi scheme; and failing to disclose that EminiFX was not registered with

the CFTC as a CPO and Alexandre was not registered with the CFTC as an AP.

       60.     Alexandre also violated 7 U.S.C. § 6o(1)(A)-(B) during the Relevant Period by

misappropriating participant funds for personal benefit, including to make payments to BMW,

Mercedes Benz, Saks Fifth Avenue, flights, luxury hotels and apparel, and occupational and

physical therapy.

       61.     Alexandre directly or indirectly controls EminiFX, and did not act in good faith or

knowingly induced, directly or indirectly, EminiFX’s violations alleged in this Count, and is thus

liable for EminiFX’s violations pursuant to 7 U.S.C. § 13c(b).

       62.     The foregoing acts, omissions and failures of Alexandre as alleged in this Count,

and of all other agents of EminiFX, occurred and are occurring within the scope of their

employment, office or agency with EminiFX; therefore, EminiFX is liable for these acts,

omissions and failures pursuant to 7 U.S.C. § 2(a)(1)(B) and 17 C.F.R. § 1.2.

       63.     Each act of misrepresenting and omitting material information, including, but not

limited to, those specifically alleged herein, and each act of misappropriation, constitutes a

separate and distinct violation of 7 U.S.C. § 6o(1)(A)-(B).




                                                 15
       Case 1:22-cv-03822-VEC           Document 5       Filed 05/12/22      Page 16 of 23




                          COUNT IV – AGAINST ALL DEFENDANTS

   Violations of 7 U.S.C. § 9(1), and 17 C.F.R. § 180.1(a)(1)-(3) (2021): Fraud by use of a
                             manipulative device or contrivance.

       64.     The allegations set forth in the preceding paragraphs are re-alleged and

incorporated herein by reference.

       65.     Section 6(c)(1) of the Act, 7 U.S.C. § 9(1) makes it unlawful for any person,

directly or indirectly, to use or employ, or attempt to use or employ, in connection with any swap

or contract of sale of any commodity in interstate commerce, or for future delivery on or subject

to the rules of any registered entity, any manipulative or deceptive device or contrivance,

including in contravention of Regulation 180.1 (a)(1)-(c), 17 C.F.R. § 180.1(a)(1)-(c).

       66.     The Regulations at 17 C.F.R. § 180.1(a) provide, in relevant part, that it shall be

unlawful for any person, directly or indirectly, in connection with any contract of sale of any

commodity in interstate commerce, or contract for future delivery on or subject to the rules of

any registered entity, to intentionally or recklessly: (1) use or employ, or attempt to use or

employ, any manipulative device, scheme, or artifice to defraud; (2) make, or attempt to make,

any untrue or misleading statement of a material fact or to omit to state a material fact necessary

in order to make the statements made not untrue or misleading; or (3) engage, or attempt to

engage, in any act, practice, or course of business, which operates or would operate as a fraud or

deceit upon any person.

       67.     Defendants, directly or indirectly, in connection with contracts of sale of

commodities in interstate commerce, and contracts for future delivery on or subject to the rules

of a registered entity, intentionally or recklessly: used or employed, or attempted to use or

employ, a scheme or artifice to defraud; including by making misrepresentations and omissions

of material fact to participants and prospective participants, including, among other things,


                                                 16
       Case 1:22-cv-03822-VEC           Document 5       Filed 05/12/22      Page 17 of 23




mispresenting the expected profits and risk of loss; failing to disclose that Alexandre’s trading

had resulted in large losses; and failing to disclose that Alexandre was misappropriating

participant funds for personal benefit and that he used participant funds to pay other participants,

in the manner of a Ponzi scheme; and failing to disclose that EminiFX was not registered with

the CFTC as a CPO and Alexandre was not registered with the CFTC as an AP

       68.     As a result of the foregoing conduct, Defendants’ fraudulent conduct violated

7 U.S.C. § 9(1) and 17 C.F.R. § 180.1(a)(1)-(3).

       69.     Alexandre directly or indirectly controls EminiFX, and did not act in good faith or

knowingly induced, directly or indirectly, EminiFX’s violations alleged in this Count, and is thus

liable for EminiFX’s violations pursuant to 7 U.S.C. § 13c(b).

       70.     The foregoing acts, omissions and failures of Alexandre as alleged in this Count,

and of all other agents of EminiFX, occurred and are occurring within the scope of their

employment, office or agency with EminiFX; therefore, EminiFX is liable for these acts,

omissions and failures pursuant to 7 U.S.C. § 2(a)(1)(B) and 17 C.F.R. § 1.2.

       71.     Each use or employment or attempted use or employment of any manipulative

device, scheme, or artifice to defraud; untrue or misleading statement of fact, omission of

material fact necessary to make statements not untrue or misleading; or act of engaging, or

attempting to engage, in acts, practices or courses of business that operated or would have

operated as a fraud or deceit on participants and potential participants during the Relevant Period

is alleged as a separate and distinct violation of 7 U.S.C. § 9(1) and 17 C.F.R. § 180.1(a)(1)-(3).




                                                 17
       Case 1:22-cv-03822-VEC           Document 5       Filed 05/12/22      Page 18 of 23




                               COUNT V – AGAINST EMINIFX

    Violations of 7 U.S.C. §§ 2(c)(2)(C)(iii)(I)(cc) and 6m(1), and 17 C.F.R. § 5.3(a)(2)(i):
                                   Failure to Register as a CPO

       72.     The allegations set forth in the preceding paragraphs are re-alleged and

incorporated herein by reference.

       73.     Section 1a(10) of the Act, 7 U.S.C. § 1a(10), defines the term “commodity pool”

to mean “any investment trust, syndicate, or similar form of enterprise operated for the purpose

of trading in commodity interests, including any—(i) commodity for future delivery, security

futures product, or swap; (ii) agreement, contract, or transaction described in section

2(c)(2)(C)(i) or section 2(c)(2)(D)(i); (iii) commodity option authorized under section 4c; or

(iv) leverage transaction authorized under section 19 [of the Act].”

       74.     7 U.S.C. § 1a(11) defines a CPO as any person “engaged in a business that is of

the nature of a commodity pool, investment trust, syndicate or similar form of enterprise and

who, in connection therewith, solicits, accepts, or receives from others, funds, securities or

property . . . for the purpose of trading in commodity interests.”

       75.     Section 2(c)(2)(C)(iii)(I)(cc) of the Act, 7 U.S.C. §§ 2(c)(2)(C)(iii)(I)(cc) makes it

unlawful for any person, unless registered as a CPO, to operate or solicit funds for any pooled

investment vehicle in connection with any forex contract that accepts non-ECPs. In addition,

Section 4m(1) of the Act, 7 U.S.C. § 6m(1), makes it unlawful for any CPO, unless registered

with the CFTC, to make use of the mails or any means or instrumentality of interstate commerce

in connection with its business as a CPO, and Regulation 5.3(a)(2)(i), 17 C.F.R. § 5.3(a)(2)(i),

requires anyone acting as a CPO for a pooled investment vehicle that engages in retail forex

transactions to register as a CPO.




                                                 18
       Case 1:22-cv-03822-VEC          Document 5       Filed 05/12/22     Page 19 of 23




       76.     EminiFX acted as a CPO by soliciting potential pool participants to contribute

funds to be used to supposedly trade commodity futures and retail forex transactions. EminiFX

further acted as a CPO by actually using pooled participant funds to trade commodity futures,

including E-mini S&P 500 futures contracts, E-mini Nasdaq 100 futures contracts, E-mini

Russell 2000 futures contracts, and Dow Futures Mini contracts in the FCM A accounts.

       77.     During the Relevant Period, EminiFX, which was not exempt from registration as

a CPO, acted as a CPO and made use of the mails or any means or instrumentality of interstate

commerce in connection with its business as a CPO by operating or soliciting funds from non-

ECPs for a pooled investment vehicle. EminiFX engaged in this conduct without being

registered with the Commission as a CPO in violation of 7 U.S.C. §§ 2(c)(2)(C)(iii)(I)(cc) and

6m(1), and 17 C.F.R. § 5.3(a)(2)(i).

                             COUNT VI – AGAINST ALEXANDRE

    Violations of 7 U.S.C. §§ 2(c)(2)(C)(iii)(I)(cc) and 6k(2), and 17 C.F.R. § 5.3(a)(2)(ii):
                              Failure to Register as an AP of a CPO

       78.     The allegations set forth in the preceding paragraphs are re-alleged and

incorporated herein by reference.

       79.     During the Relevant Period, Defendant Alexandre acted as an associated person

of a CPO by accepting or soliciting funds, securities, or property from non-ECPs for the

EminiFX pooled investment vehicle, in connection with forex and commodity futures

transactions. Alexandre engaged in this conduct without being registered with the Commission

as an AP of CPO EminiFX, in violation of 7 U.S.C. §§ 2(c)(2)(C)(iii)(I)(cc), 6k(2), and

17 C.F.R. § 5.3(a)(2)(ii).




                                               19
        Case 1:22-cv-03822-VEC          Document 5       Filed 05/12/22      Page 20 of 23




                                  VI.   RELIEF REQUESTED

        WHEREFORE, the Commission respectfully requests that this Court, as authorized by

Section 6c of the Act, 7 U.S.C. § 13a-1, and pursuant to its own equitable powers:

   A.     Find that Defendants Alexandre and EminiFX violated Sections 2(c)(2)(C)(iii)(I)(cc),

          4b(a)(1)(A), (C), 4b(a)(2)(A), (C), 4o(1)(A)-(B), and 6(c)(1) of the Act, 7 U.S.C.

          §§ 2(c)(2)(C)(iii)(I)(cc), 6b(a)(1)(A), (C), 6b(a)(2)(A), (C), 6o(1)(A)-(B), 9(1) and

          Regulations 5.2(b)(1)-(3) and 180.1(a)(1)-(3), 17 C.F.R. §§ 5.2(b) (1)-(3), 180.1(a)(1)-

          (3) (2021);

   B.     Find that Defendant EminiFX violated Sections 2(c)(2)(C)(iii)(I) and 4m(1) of the

          Act, 7 U.S.C. §§ 2(c)(2)(C)(iii)(I)(cc) and 6m(1), and 5.3(a)(2)(i), 17 C.F.R.

          §5.3(a)(2)(i) (2021);

   C.     Find that Defendant Alexandre violated Sections 2(c)(2)(C)(iii)(I) and 4k(2) of the

          Act, 7 U.S.C. § 6k(2), and 17 C.F.R. § 5.3(a)(2)(ii) (2021);

   D.     Enter an order of permanent injunction restraining, enjoining, and prohibiting

          Defendant Alexandre, and his affiliates, agents, servants, employees, successors,

          assigns, attorneys, and all persons or entities in active concert with him, who receive

          actual notice of such order by personal service or otherwise, from engaging in the

          conduct described above, in violation of 7 U.S.C. §§ 2(c)(2)(C)(iii)(I)(cc), 6b(a)(1)(A)

          and (C), 6b(a)(2)(A) and (C), 6o(1)(A)-(B), 6k(1), and 6(c)(1), and 17 C.F.R.

          §§ 5.2(b) (1) and (3), 5.3(a)(2)(ii), and 180.1(a)(1)-(3);

   E.     Enter an order of permanent injunction restraining, enjoining, and prohibiting

          Defendant EminiFX, and its affiliates, agents, servants, employees, successors,

          assigns, attorneys, and all persons or entities in active concert with it, who receive

          actual notice of such order by personal service or otherwise, from engaging in the
                                                 20
     Case 1:22-cv-03822-VEC            Document 5     Filed 05/12/22      Page 21 of 23




       conduct described above, in violation of 7 U.S.C. §§ 2(c)(2)(C)(iii)(I)(cc), 6b(a)(1)(A)

       and (C), 6b(a)(2)(A) and (C), 6o(1)(A)-(B), 6m(1), and 6(c)(1), and 17 C.F.R.

       §§ 5.2(b) (1) and (3), 5.3(a)(2)(i), and 180.1(a)(1)-(3);

F.     Enter an order of permanent injunction enjoining Alexandre and EminiFX, and their

       affiliates, agents, servants, employees, successors, assigns, attorneys, and all persons

       or entities in active concert with them, who receive actual notice of such order by

       personal service or otherwise, from directly or indirectly:

        a. Trading on or subject to the rules of any registered entity (as that term is defined

             by Section la(40) of the Act, 7 U.S.C. § la(40));

        b. Entering into any transactions involving “commodity interests” (as that term is

             defined in Regulation 1.3, 17 C.F.R. § 1.3 (2021)) or digital assets for accounts

             held in the name of Alexandre or EminiFX or for accounts in which Alexandre or

             EminiFX has a direct or indirect interest;

        c. Having any commodity interests or digital assets traded on Alexandre’s or

             EminiFX’s behalf;

        d. Controlling or directing the trading for or on behalf of any other person or entity,

             whether by power of attorney or otherwise, in any account involving commodity

             interests or digital assets;

        e.   Soliciting, receiving, or accepting any funds from any person for the purpose of

             purchasing or selling any commodity interests or digital assets;

        f. Applying for registration or claiming exemption from registration with the CFTC

             in any capacity, and engaging in any activity requiring such registration or




                                              21
     Case 1:22-cv-03822-VEC         Document 5        Filed 05/12/22      Page 22 of 23




           exemption from registration with the CFTC, except as provided for in Regulation

           4.14(a)(9), 17 C.F.R. § 4.14(a)(9) (2021); and

        g. Acting as a principal (as that term is defined in Regulation 3.1(a), 17 C.F.R.

           § 3.1(a) (2021)), agent, or any other officer or employee of any person registered,

           exempted from registration, or required to be registered with the CFTC, except as

           provided for in 17 C.F.R. § 4.14(a)(9).

G.     Enter an order directing Alexandre and EminiFX, as well as any third-party transferee

       and/or successors thereof, to disgorge, pursuant to such procedure as the Court may

       order, all benefits received, including, but not limited to, salaries, commissions, loans,

       fees, revenues, and trading profits derived, directly or indirectly, from acts or practices

       which constitute violations of the Act and Regulations as described herein, including

       pre-judgment and post-judgment interest;

H.     Enter an order requiring Alexandre and EminiFX, as well as any successors thereof, to

       make full restitution to every person who has sustained losses proximately caused by

       the violations described herein, including pre-judgment and post-judgment interest;

I.     Enter an order directing Alexandre and EminiFX, as well as any successors thereof, to

       rescind, pursuant to such procedures as the Court may order, all contracts and

       agreements, whether implied or express, entered into between, with, or among

       Defendants and any of the participants whose funds were received by Defendants as a

       result of the acts and practices that constituted violations of the Act and Regulations,

       as described herein;

J.     Enter an order directing Alexandre and EminiFX to pay a civil monetary penalty

       assessed by the Court, in an amount not to exceed the penalty prescribed by Section



                                             22
Case 1:22-cv-03822-VEC   Document 5   Filed 05/12/22   Page 23 of 23
